        Case 2:20-cv-05776-VAP-AS Document 37 Filed 04/30/21 Page 1 of 2 Page ID #:632

                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES – GENERAL
   No.              CV 20-05776-VAP(ASx)                                        Date     April 30, 2021
   Title            Shake Satamian v. Costco Wholesale Corporation dba Costco Wholesale
                    Warehouse, et. al.,



   Present: The Honorable            Alka Sagar, United States Magistrate Judge
                     Alma Felix                                                        Not reported
                    Deputy Clerk                                               Court Reporter / Recorder
                Attorneys Present for Plaintiff:                         Attorneys Present for Defendants:
                             N/A                                                        N/A
   Proceedings (In Chambers):                  Order To Show Cause re Contempt Against Third-Party
                                               Witnesses (Docket No. 36)


        On April 30, 2021, Defendant Costco Wholesale Corporation (“Costco”) filed a motion for an
order of contempt and sanctions against third party witnesses Justina Carillo and Jose Ramirez based on
their failure to respond to, and appear for, deposition subpoenas and for sanctions in the amount of $875.
(Dkt. No. 36).

        Rule 45(g) states that a district court “may hold in contempt a person who, having been served,
fails without adequate excuse to obey the subpoena or an order related to it.” Defendant’s motion
demonstrates that a registered process server personally served (1) Justina Carillo with a deposition
subpoena on January 27, 2021, for a deposition scheduled on February 2, 2021, and a deposition
subpoena on February 22, 2021, for a deposition scheduled on March 10, 2021; and (2) Jose Ramirez
with a deposition subpoena on January 27, 2021, for a deposition scheduled on February 2, 2021, and a
deposition subpoena on February 22, 2021, for a deposition scheduled on March 10, 2021. (Dkt. No.
36 at 3; Declaration of Michael Miretsky ¶¶ 4-6, 8-11, 18-19, 21; Exhs. B, C, D, F, G, H, I) . The
witnesses failed to appear for depositions on March 10, 2021, or otherwise respond to the subpoenas,
voicemail messages and mail communication by Defendant’s counsel. (No. 36 at 3; Miretsky Decl., ¶¶
3, 7, 16, 20, 22-26; Exhs. A, E) .

       Pursuant to Rule 45(g), the Court ORDERS (1) Justina Carillo to show cause why she should not
be held in contempt of court or otherwise required to comply with the deposition subpoena issued in this
action; and (2) Jose Carillo to show cause why he should not be held in contempt of court or otherwise
required to comply with the deposition subpoena issued in this action.



CV-90 (06/04)                                  CIVIL MINUTES - GENERAL                                     Page 1 of 2
        Case 2:20-cv-05776-VAP-AS Document 37 Filed 04/30/21 Page 2 of 2 Page ID #:633

                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA

                                        CIVIL MINUTES – GENERAL
   No.              CV 20-05776-VAP(ASx)                                          Date   April 30, 2021
   Title            Shake Satamian v. Costco Wholesale Corporation dba Costco Wholesale
                    Warehouse, et. al.,

       Any response to this Order must be filed with the Court by noon on May 21, 2021. A hearing on
the Order to Show Cause will be held telephonically on June 1, 2021, at 10:00 a.m. The call-in
information will be emailed to the parties. Defendant is ordered to personally serve Justina Carillo and
Jose Ramirez with this Order, the motion for an order of contempt, 1 and provide the Clerk with email
contact information for these individuals, if available.

         IT IS SO ORDERED.


cc:      Virginia A. Phillips
         United States District Judge


                                                                                  0           : 00
                                                           Initials of Preparer   AF




         1
             Defendant’s motion did not include a proof of service to the third party witnesses.


CV-90 (06/04)                                   CIVIL MINUTES - GENERAL                                   Page 2 of 2
